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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                        No. CR 10-3093-003 JB

CARMEN CARRASCO,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Appeal from Magistrate’s

Order of Detention, filed November 24, 2010 (Doc. 153). The Court held an evidentiary hearing

on December 8, 2010. The primary issue is whether the Court should review the Order of the

Honorable Carmen E. Garza, United States Magistrate Judge for the District of New Mexico,

denying Defendant Carmen Carrasco conditions of release. The Court concludes that Plaintiff

United States of America has proved, by a preponderance of the evidence, that C. Carrasco is a flight

risk and, by clear-and-convincing evidence, that C. Carrasco is a danger to the community, and the

Court therefore affirms Judge Garza’s Order denying C. Carrasco conditions of release.

                                  FACTUAL BACKGROUND

       C. Carrasco became a naturalized United States citizen in 1989. Much of C. Carrasco’s

family, including her parents, reside in El Paso, Texas. She has employment at a beauty salon,

where she has worked for five years. Her daughter, Elizabeth Carrasco, is twenty-seven years old

and resides in Chaparral, New Mexico. E. Carrasco is employed at a doctor’s office and attends

college.
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       On November 17, 2010, the United States Probation Office completed a Pretrial Services

(“PTS”) report for C. Carrasco. The PTS report shows that C. Carrasco’s criminal history includes

a number of convictions spanning approximately twenty-eight years, dating back to 1982.

According to the PTS report, C. Carrasco has three known convictions: (i) on January 4, 1996,

C. Carrasco was convicted of theft of property greater than or equal to $50.00, but less than $500.00,

for which she was sentenced to 180 days probation, a fine, and community service; (ii) on October

3, 2002, C. Carrasco was convicted of possession of marijuana between four ounces and five

pounds, a felony, for which she was sentenced to five years probation, and a fine plus court costs;

and (iii) on January 25, 2005, C. Carrasco was convicted of theft of property greater than or equal

to $50.00, but less than $500.00, for which she was sentenced to 180 days in jail, eighteen months

probation, and a fine plus court costs. C. Carrasco has a pending felony listed in her criminal history

-- August 28, 2010, Alamogordo, New Mexico -- which is the same allegation set forth in Count 2

of the Indictment for the present charge. The United States has indicated the state charge will be

dismissed, because it is now prosecuting the incident. At the time of her arrest on the federal

charges, C. Carrasco was out on bond on the state charges, and was regularly reporting to her state

attorney and bondsman.

       At the December 8, 2010 hearing, Drug Enforcement Agency (“DEA”) agent Jerry Smith

testified that the charges against C. Carrasco and her co-conspirators are the result of a lengthy

investigation which included over four months of court-authorized Title III1 wiretap interception of

six different telephones, and video surveillance of three different residences. Smith testified that

C. Carrasco was repeatedly intercepted in conversations with co-Defendant Javier Perez on her


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        Title III of the Omnibus Crime Control and Safe Streets Act of 1968, codified at 18 U.S.C.
§§ 2510 through 2522.

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wiretapped telephone, and on multiple occasions -- most Tuesdays and Fridays during three months

of observation -- Perez and C. Carrasco arranged for Perez to go to C. Carrasco’s residence. Smith

further testified that, using video surveillance, agents observed multiple occurrences at C. Carrasco’s

residence when Perez would arrive and either exit his vehicle and walk to the front of the residence,

or remain in his vehicle while C. Carrasco would walk to the window and reach into the vehicle.

These meetings were brief, and Smith testified that the meetings are consistent with other hand-to-

hand drug deals that he has witnessed in the past.

       Smith also testified that, on or about July 31, 2010, C. Carrasco delivered a vehicle loaded

with cocaine to a property located at 718 Applewood Road, Canutillo, Texas. He further testified

that, on August 27, 2010, DEA agents intercepted a telephone call between C. Carrasco and her co-

Defendant, Pablo Fuentes, discussing transporting cocaine to Denver, Colorado. Following the

telephone call, agents observed C. Carrasco, Fuentes, and co-Defendants Mario Di Franco and Jesus

De La Torre at C. Carrasco’s residence with a rental vehicle. Agents intercepted a telephone call

between C. Carrasco and Fuentes stating that the rental vehicle would need to go to Alamogordo,

New Mexico, before traveling to Denver. Later that day, at a Border Patrol checkpoint, the rental

vehicle was stopped, and C. Carrasco was found with approximately two kilograms of cocaine. She

was held for about a week and released pending trial. One day after she was released, agents

intercepted a call between C. Carrasco and an unknown male arranging the sale of one ounce of

cocaine. The agents also intercepted numerous other calls referencing cocaine and drug proceeds.

       Smith also testified that agents intercepted telephone calls indicating that C. Carrasco had

crossed the border into Mexico. Border Patrol crossing reports, however, do not show that she

crossed into Mexico during that time. Smith surmised that this lack of a verified crossing suggests

that C. Carrasco is able to cross into Mexico using an assumed name. He further testified that C.

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Carrasco has about twelve contacts in Mexico with whom she transacts business.

         During the surveillance of C. Carrasco’s telephone, Smith did not hear her discuss working

at a salon. He also heard no conversations concerning receiving paychecks or legitimate income.

Rather, he heard her discuss taking merchandise from beauty supply stores without paying for the

items.

                               PROCEDURAL BACKGROUND

         On November 10, 2010, a federal Grand Jury returned a seven-count Indictment charging

twenty-three people, including C. Carrasco, with, among other things, conspiracy to possess with

intent to distribute five kilograms and more of cocaine, contrary to 21 U.S.C. §§ 841(a)(1), and

(b)(1)(A), and with possession with intent to distribute over 500 grams of cocaine in violation of 21

U.S.C. §§ 841(a)(1) and (b)(1)(B). See Doc. 2. On November 16, 2010, seventeen arrest warrants

and seven search warrants were executed. C. Carrasco was arrested on that day, and her residence

was searched. On November 17, 2010, C. Carrasco had her initial appearance before Judge Garza,

where the United States made oral motions for a detention hearing and to continue the detention

hearing to a later date, and Judge Garza granted the United States’ motions.

         On November 19, 2010, C. Carrasco was arraigned, and she entered a plea of not guilty.

Judge Garza also held a detention hearing. After hearing arguments from the parties, Judge Garza

ordered C. Carrasco held without bond pending trial as a danger to the community and as a flight

risk. Judge Garza executed a Detention Order on November 22, 2010. See Doc. 123.

         On November 24, 2010, C. Carrasco’s attorney, Jess Lilley, filed the Defendant’s Appeal

from Magistrate’s Order of Detention. See Doc. 153. C. Carrasco appeals, pursuant to 18 U.S.C.

§ 3145, Judge Garza’s detention order. C. Carrasco argues that she is not a flight risk and that she

has strong ties to the community. She contends that E. Carrasco, whom Pretrial Services found to

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be a suitable third-party custodian, is willing to serve as a third-party custodian and will also sign

as a guarantee on any bond. C. Carrasco requests an immediate hearing to present this appeal.

       In advance of the hearing that C. Carrasco requests and the Court scheduled for December

8, 2010, the United States on December 7, 2010, filed the United States’ Response to Defendant’s

Appeal of Pretrial Detention. See Doc. 196. The United States asks the Court to uphold the

November 22, 2010 Detention Order that Judge Garza entered. The United States submits its brief

in support of detention, arguing that C. Carrasco is a flight risk and danger to the community, and

there are no conditions or combination of conditions that can reasonably assure the safety of the

community and her appearance for trial. At the December 8, 2010 hearing, Smith testified about

the evidence gathered by the DEA during its investigation that implicated C. Carrasco.

                  STANDARD OF REVIEW BY THE DISTRICT COURT

       “The standard of review for the district court’s review of a magistrate judge’s detention or

release order under § 3145(a) is de novo.” United States v. Cisneros, 328 F.3d 610, 616 n.1 (10th

Cir. 2003). “When the district court acts on a motion to revoke or amend a magistrate's pretrial

detention order, the district court acts de novo and must make an independent determination of the

proper pretrial detention or conditions for release.” United States v. Rueben, 974 F.2d 580, 585-86

(5th Cir. 1992). See United States v. Maull, 773 F.2d 1479, 1481 (8th Cir.1985)(stating that a

district court's review of magistrate judge's order setting bond was de novo).

                    STATUTORY PRESUMPTION AGAINST RELEASE

       Pursuant to the Bail Reform Act of 1984, 18 U.S.C. §§ 3141 through 3156, a defendant may

be detained pending trial only after a hearing, held pursuant to 18 U.S.C. § 3142(f), and upon a

finding “that no condition or combination of conditions will reasonably assure the appearance of the

person as required and the safety of any other person and the community.” 18 U.S.C. § 3142(e). At

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such a hearing, the United States bears the burden of proving risk of flight by a preponderance of

the evidence, and the burden of proving dangerousness by clear and convincing evidence. See 18

U.S.C. § 3142(f); United States v. Cisneros, 328 F.3d at 616. A statutory presumption arises “that

no condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of the community if” a court “finds that there is probable cause to believe

that the person committed an offense for which a maximum term of imprisonment of ten years or

more is prescribed in the Controlled Substances Act.” 18 U.S.C. § 3142(e)(3). See United States

v. Villapudus-Quintoro, No. 08-2308, 2009 WL 141931, at *1 (10th Cir. Jan. 22, 2009)(recognizing

that 18 U.S.C. § 3142(e) establishes a rebuttable presumption favoring detention in the case of,

among other defendants, certain alleged drug offenders).

       Under section 3142(e), upon a finding of probable cause that the defendant has
       committed a federal drug offense carrying a maximum prison term of ten years or
       more, a rebuttable presumption arises that no conditions of release will assure
       defendant's appearance and the safety of the community. Once the presumption is
       invoked, the burden of production shifts to the defendant. However, the burden of
       persuasion regarding risk-of-flight and danger to the community always remains with
       the government. The defendant's burden of production is not heavy, but some
       evidence must be produced. Even if a defendant's burden of production is met, the
       presumption remains a factor for consideration by the district court in determining
       whether to release or detain.

United States v. Stricklin, 932 F.2d 1353, 1354-55 (10th Cir. 1991).

       Should the defendant satisfy his or her burden of production, the United States must then

show by a preponderance of the evidence that the defendant presents a risk of flight or by clear-and-

convincing evidence that the defendant presents a danger to the community. See United States v.

Mercedes, 254 F.3d at 436; United States v. Stricklin, 932 F.2d at 1354-55 (“[T]he burden of

persuasion regarding risk-of-flight and danger to the community always remains with the

government.”). Notably, however, even if the defendant meets his or her burden of production, “the


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presumption remains a factor for consideration by the district court in determining whether to

release or detain.” United States v. Stricklin, 932 F.2d at 1355 (citation omitted). Accord United

States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001). To determine whether the United States has

met its burden of persuasion, the court must consider: (i) the nature and circumstances of the crime

charged; (ii) the weight of the evidence against the defendant; (iii) the history and characteristics of

the defendant, including family ties, employment, financial resources, community ties, drug or

alcohol abuse history, and past conduct; and (iv) the nature and seriousness of the danger to the

community or to an individual that would be posed by release. See 18 U.S.C. § 3142(g). “The rules

concerning the admissibility of evidence in criminal trials do not apply to the presentation and

consideration of information at the [detention] hearing.” 18 U.S.C. § 3142(f).

                                             ANALYSIS

       The Court concludes that C. Carrasco is a flight risk and a danger to the community, and

should be detained pending trial. The statutory presumption is present, because probable cause

supports finding that C. Carrasco conspired to possess with intent to distribute five kilograms and

more of cocaine, and that she and co-Defendants possessed with intent to distribute over 500 grams

of cocaine. Pursuant to the 18 U.S.C. § 3142(g) factors, the Court finds, based on the quantity of

narcotics involved, the strength of the United States’ case, the severity of the sentence C. Carrasco

faces if convicted, C. Carrasco’s criminal history, and her ties to Mexico, that a preponderance of

the evidence supports finding that C. Carrasco is a flight risk. Because of the nature of the crime,

and C. Carrasco’s willingness to resume selling drugs immediately after her release from custody,

the Court finds clear-and-convincing evidence supports finding she is a danger to the community.

As such, there are no conditions, nor a combination of conditions, that will adequately ensure the

community’s safety and C. Carrasco’s presence at trial. See 18 U.S.C. § 3142(g). Accordingly, the

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Court will order C. Carrasco detained pending trial.

I.      THE STATUTORY PRESUMPTION IS PRESENT.

        The Grand Jury found probable cause to believe that C. Carrasco conspired to possess with

intent to distribute five kilograms and more of cocaine, contrary to 21 U.S.C. §§ 841(a)(1) and

(b)(1)(a), in violation of 21 U.S.C. § 846, and that she possessed with intent to distribute over 500

grams of cocaine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B). “[T]he Tenth Circuit has

explained that ‘[t]he grand jury indictment is sufficient to establish the finding of probable cause that

defendant committed a federal drug offense with a maximum prison term of ten years or more.’”

United States v. Moreau, No. 07-cr-0388-JB, 2007 WL 2219412, at *4 (D.N.M. May 7,

2007)(Browning, J.)(quoting United States v. Silva, 7 F.3d 1046, 1046 (10th Cir. 1993)). See United

States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010)(“A grand jury indictment, by itself, establishes

probable cause to believe that a defendant committed the crime with which [s]he is charged.” (citing

United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985)). “Thus, when the government presents

an indictment including charges listed in section 3142(e)(3), it has fulfilled its burden to establish

the presumption in favor of detention.” United States v. Stone, 608 F.3d at 945. See United States

v. Cruz, 23 F.3d 395, at *1 (1st Cir. 1994)(“The grand jury indictment . . . gave the district court

probable cause to believe that appellant had committed a crime of violence . . . . This, in turn,

triggered the rebuttable presumption contained in § 3142(e).” (citing United States v. Dillon, 938

F.2d 1412, 1416 (1st Cir. 1991)(per curiam))); United States v. Silva, 7 F.3d at 1046; United States

v. v. Quartermaine, 913 F.2d 910, 916 (11th Cir. 1990)(“A grand jury indictment provides the

probable cause required by the statute to trigger the presumption.” (citing United States v. Hurtado,

779 F.2d 1467, 1479 (11th Cir. 1985))); United States v. Williams, 903 F.2d 844, at *1 (D.C. Cir.

1990)(“Courts of appeals, however, have uniformly held that a judicial officer may rely on a grand

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jury indictment to establish probable cause for the purposes of triggering the rebuttable presumption

of section 3142(e).” (citing United States v. Vargas, 804 F.2d 157, 163 (1st Cir. 1986); United

States v. Suppa, 799 F.2d 115, 118-19 (3d Cir. 1986); United States v. Dominguez, 783 F.2d 702,

706 n.7 (7th Cir. 1986); United States v. Hurtado, 779 F.2d 1467, 1477-79 (11th Cir. 1985); United

States v. Contreras, 776 F.2d 51 (2d Cir. 1985); United States v. Hazime, 762 F.2d 34, 37 (6th Cir.

1985); United States v. Mosuro, 648 F. Supp. 316, 318 (D.D.C. 1986))). Moreover, the United

States presented evidence that C. Carrasco communicated and participated in the delivery of

cocaine, including that, on or about July 31, 2010, C. Carrasco delivered a vehicle loaded with

cocaine to a property located at 718 Applewood Road, Canutillo, Texas, and on August 27, 2010,

she was found with approximately two kilograms of cocaine at a Border Patrol checkpoint. Because

probable cause exists to believe C. Carrasco violated the statutory provisions -- which carries a ten-

year minimum sentence under 21 U.S.C. § 841(b)(1)(A)(viii) -- a presumption arises “that no

condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of the community.” 18 U.S.C. § 3142(e)(3)(stating this presumption applies

to Controlled Substances Act violations “for which a maximum term of imprisonment of ten years

or more is prescribed”).

II.    THE COURT CONCLUDES THAT C. CARRASCO IS A FLIGHT RISK AND A
       DANGER TO THE COMMUNITY.

       The Court concludes that C. Carrasco should be detained pending trial. The United States

argues that C. Carrasco must be detained pending trial because she is, by a preponderance of the

evidence, a flight-risk, and, by clear-and-convincing evidence, a danger to the community. The

United States contends that, based on C. Carrasco’s criminal record, the United States anticipates

that she will not be safety-valve eligible, and may be facing an enhancement pursuant to 21 U.S.C.


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§ 851, which would result in a mandatory twenty-year term of imprisonment upon conviction for

Count 1, and no less than ten-years and no more than life imprisonment upon conviction for Count

2. Faced with a severe sentence and strong evidence, the United States contends, no condition or

combination of conditions will adequately deter C. Carrasco’s flight and ensure the community’s

safety. C. Carrasco asserts that she has strong ties to the community, specifically much of her

family lives in El Paso and she has a good work history.

       The Court concludes that C. Carrasco meets her burden of production and rebuts the

statutory presumption favoring detention. See United States v. Stricklin, 932 F.2d at 1355 (“The

defendant's burden of production is not heavy, but some evidence must be produced.”). While C.

Carrasco has rebutted the presumption, it “remains a factor for consideration by the district court

in determining whether to release or detain.” United States v. Stricklin, 932 F.2d at 1355 (citation

omitted). The Court further concludes that the United States has shown, by a preponderance of the

evidence, that C. Carrasco presents a risk of flight, and by clear-and-convincing evidence that she

is a danger to the community. See United States v. Mercedes, 254 F.3d at 436; United States v.

Stricklin, 932 F.2d at 1354-55 (“[T]he burden of persuasion regarding risk-of-flight and danger to

the community always remains with the government.”). The Court also concludes that no conditions

will adequately deter C. Carrasco’s flight. Because the Court “finds that no condition or

combination of conditions will reasonably assure the appearance of [C. Carrasco] as required and

the safety of any other person and the community, [the Court] shall order the detention of [C.

Carrasco] before trial.” 18 U.S.C. § 3142(e)(1).

       A.      C. CARRASCO IS A FLIGHT RISK.

       The Court finds, by the preponderance of the evidence, that C. Carrasco is a flight risk. She

faces charges that carry substantial sentences. The United States presents weighty evidence of

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C. Carrasco’s guilt. C. Carrasco’s criminal history demonstrates her capacity for breaking the law.

She has family in Mexico, where her parents own a ranch. Consequently, the Court concludes that,

if the Court were to release C. Carrasco pending trial, it is more likely than not that she would flee.

                 1.    The Nature and Circumstances of the Crime Charged Demonstrate
                       C. Carrasco Is a Flight Risk.

       The crime with which C. Carrasco is charged carries substantial penalties. Based on

C. Carrasco’s criminal record, she may not be safety-valve eligible, subjecting her to an

enhancement pursuant to 21 U.S.C. § 851, which would result in a mandatory twenty-year term of

imprisonment upon conviction for Count 1, and no less than ten years and no more than life

imprisonment upon conviction for Count 2. This Court has previously noted that “[t]he rebuttable

presumption in drug-trafficking cases is statutory, and arises out of Congress' concern that

individuals involved in drug trafficking often have foreign contacts and the ability to leave the

country, and incentives to remain active in the drug trade.” United States v. Disher, 650 F.Supp.2d

1131, 1136 (D.N.M. 2009)(Browning, J.)(citing United States v. Moreno, 30 F.3d 127, at *2 (1st

Cir. 1994). The concern is realized in this case, because C. Carrasco has approximately twelve

contacts in Mexico with whom she transacts drug business. Moreover, Smith testified that agents

intercepted telephone calls indicating that C. Carrasco had crossed the border into Mexico. Because

Border Patrol crossing reports do not show that she crossed into Mexico during that time, she likely

crossed using an assumed name. Because of the nature of the crime, the severe sentence C. Carrasco

faces, and her criminal ties to Mexico, the Court finds the first factor supports detaining C. Carrasco

pending trial.

                 2.    The Weight of the United States’ Evidence Against C. Carrasco Shows
                       She Is a Flight Risk.

       The weight of the United States’ evidence against C. Carrasco favors detaining her before

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trial. “[T]he weight of the evidence offered in support of [the charge against C. Carrasco] is

significant,” giving her ample reason to flee if she is released pending trial. United States v.

Cisneros, 328 F.3d at 618 (recognizing that the United States “need not offer all of its evidence” at

the detention stage of the criminal proceeding). The indictment against C. Carrasco and her

co-conspirators is the result of a lengthy investigation which included over four months of

court-authorized Title III wiretap interception of six different telephones, including C. Carrasco’s

telephone, and video surveillance of three different residences, including C. Carrasco’ s residence.

C. Carrasco was repeatedly intercepted in conversations with Perez on her wiretapped telephone,

and on multiple occasions -- most Tuesdays and Fridays during three months of observation -- Perez

and C. Carrasco arranged for the Perez to go to C. Carrasco’s residence. DEA agents observed

multiple occurrences at C. Carrasco’s residence when Perez would arrive, and either exit his vehicle

and walk to the front of the residence, or remain in his vehicle while C. Carrasco would walk to the

window of his vehicle and reach into the vehicle. These meetings were brief, and Smith testified

that the meetings are consistent with other hand-to-hand drug deals that he has witnessed in the past.

       On or about July 31, 2010, C. Carrasco delivered a vehicle loaded with cocaine to a property

located at 718 Applewood Road, Canutillo, Texas. On August 27, 2010, DEA agents intercepted

a telephone call between C. Carrasco and Fuentes discussing transporting cocaine to Denver,

Colorado. Following the telephone call, DEA agents observed C. Carrasco, Fuentes, and co-

Defendants Di Franco and De La Torre at C. Carrasco’s residence with a rental vehicle. Agents

intercepted a telephone call between C. Carrasco and Fuentes stating that the rental vehicle would

need to go to Alamogordo before traveling to Denver. Later that day, at a Border Patrol checkpoint,

the rental vehicle was stopped, and C. Carrasco was found with approximately two kilograms of

cocaine. She was held for about a week and released pending trial. One day after she was released,

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agents intercepted a call between C. Carrasco and an unknown male arranging the sale of one ounce

of cocaine. The agents also intercepted numerous other calls referencing cocaine and drug proceeds.

Because the United States presents considerable evidence of against C. Carrasco, the Court finds this

factor also favors detaining C. Carrasco pending trial.

               3.      C. Carrasco’s History and Characteristics Evince That She Is a Flight
                       Risk.

       C. Carrasco’s history and characteristics offer further support for finding that she is a flight

risk. Some of her characteristics demonstrate ties to the community. She contends she has

employment at a beauty salon, where she has worked for five years. Her daughter, E. Carrasco, has

agreed to be C. Carrasco’s third-party custodian. E. Carrasco is twenty-seven years old and resides

in Chaparral, and she is employed at a doctor’s office and attends college. Given C. Carrasco’s age

and maturity, however, the Court is not convinced that, if C. Carrasco decided to flee to Mexico, her

daughter would be able to stop her from going.

       While C. Carrasco’s parents live in El Paso, they also have a ranch in Mexico and spend

significant time in Mexico during pea harvesting season. See United States v. Cisneros, 328 F.3d

610, 618 (10th Cir. 2003)(noting a defendant’s “close family in Mexico . . . and that in the past [the

defendant] has traveled to Juarez with a sister and other family members” weighed in favor of

detention). Moreover, C. Carrasco did not reveal that her parents had a ranch in Mexico to PTS

during her initial interview, and the Court finds her lack of candor troubling.

       Additionally, C. Carrasco has not shown herself to be otherwise law abiding. Over the

course of the past twenty-eight years, C. Carrasco has three known convictions, including a felony

conviction from 2002 for possession of marijuana between four ounces and five pounds. After being

arrested on August 27, 2010, and detained by state authorities, C. Carrasco was released on bond


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on the state charges, and was regularly reporting to her state attorney and bondsman. The federal

charges, however, carry significantly more substantial consequences than the state charges, which

place more pressure on C. Carrasco to flee.

        In sum, by a preponderance of the evidence, the Court concludes that C. Carrasco is a flight

risk given the serious penalties she faces, her criminal record, the strength of the United States’ case,

and C. Carrasco’s ties to Mexico. On balance, C. Carrasco’s ties to the community appear

insufficient to reduce to acceptable levels her risk of flight. In light of the severity of the sentence

she is facing, the strength of the United States’ evidence, and her ties to Mexico, C. Carrasco has

significant reason to abscond and avoid incarceration.

        B.      C. CARRASCO IS A DANGER TO THE COMMUNITY.

        Because the United States has presented probable cause supporting C. Carrasco’s federal

charges, the statutory presumption that C. Carrasco poses a danger to the community is triggered.

Even though C. Carrasco has rebutted that presumption, the presumption remains a factor for this

Court to consider in making its ultimate determination regarding detention. See United States v.

Stricklin, 932 F.2d at 1355 (“Even if a defendant's burden of production is met, the presumption

remains a factor for consideration by the district court in determining whether to release or detain.”).

C. Carrasco is charged with conspiracy to possess with intent to distribute five kilograms and more

of cocaine, contrary to 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and with possession with intent to

distribute over 500 grams of cocaine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B). These

are serious crimes which “threaten[ ] to cause grave harm to society.” Harmelin v. Michigan, 501

U.S. 957, 1002 (1991)(stating that the “possession, use, and distribution of illegal drugs represent

one of the greatest problems affecting the health and welfare” of the United States). Thus, beyond

the presumption, the federal charges provide reason to deem C. Carrasco a danger to the community,

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even though no guns or violence appear to have been used to further the conspiracy. See United

States v. Pina-Aboite, 97 F. App’x at 836 (recognizing that 18 U.S.C. § 3142

“danger-to-the-community factor is not simply about physical violence; the risk that a defendant will

continue to engage in drug trafficking constitutes a danger to the community” (citing United States

v. Cook, 880 F.2d 1158, 1161 (10th Cir.1989)). Moreover, one day after being released on bond

following a week of detention subsequent to her August 27, 2010 drug arrest on state charges, C.

Carrasco resumed selling drugs. The Court has no assurance that, if it were to release her on these

federal charges, she would not resume selling drugs. Consequently, the Court finds that, by clear-

and-convincing evidence, C. Carrasco presents a danger to the community.

       IT IS ORDERED that: (i) the Court grants the request for a hearing in the Defendant’s

Appeal from Magistrate’s Order of Detention, filed November 24, 2010 (Doc. 153); (ii) the Court

otherwise denies Defendant Carmen Carrasco’s requests in her Appeal; and (iii) affirms the

Honorable Carmen E. Garza, United States Magistrate’s Order denying Carrasco conditions of

release.


                                                              ________________________________
                                                              UNITED STATES DISTRICT JUDGE


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